Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 1 of 41 Page ID #:1



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  13
                          UNITED STATES DISTRICT COURT
  14
                         CENTRAL DISTRICT OF CALIFORNIA
  15

  16
       MAYANNA BERRIN, an individual             Case No.:
  17   on her own behalf and on behalf of all
       others similarly situated,                CLASS ACTION COMPLAINT
  18

  19
                      Plaintiff,
  20

  21       v.
  22
       DELTA AIR LINES INC., a Delaware
  23   Corporation,
  24

  25                 Defendant.
  26

  27

  28
                                              1
                                   CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 2 of 41 Page ID #:2



   1         Plaintiff Mayanna Berrin (“Plaintiff”), by and through her attorneys,
   2   makes the following allegations pursuant to the investigation of her counsel and
   3   based upon information and belief—except as to allegations specifically
   4   pertaining to herself and her counsel, which are based on personal knowledge—
   5   against Defendant Delta Air Lines, Inc. (“Defendant” or “Delta”).
   6                             NATURE OF THE ACTION
   7         1.     This is a class action lawsuit, brought on behalf of a putative
   8   nationwide class, or alternatively a putative class of California residents, who
   9   have purchased Defendant’s flights, against Defendant for grossly
  10   misrepresenting the total environmental impact of its business operations in its
  11   advertisements, corporate announcements, and promotional materials and
  12   thereby attaining underserved market share and extracting higher prices from
  13   consumers.
  14         2.     Defendant is one of the major commercial airlines in America and
  15   operates flights worldwide.
  16         3.     Since March 2020, Defendant has repeatedly touted itself as “the
  17   world’s first carbon-neutral airline” across various channels including
  18   advertisements, press releases, LinkedIn posts, podcasts, and in-flight napkins.
  19         4.     Reasonable consumers reviewing these representations would
  20   believe that when taking account of all of Defendant’s carbon emissions and
  21   related green investments, Defendant has not been responsible for releasing any
  22   net additional carbon into the atmosphere since March 2020.
  23         5.     Defendant has represented that its airline is “carbon-neutral”
  24   because of carbon offsetting via participation in the voluntary carbon offset
  25   market. The voluntary carbon offset market is a loose arrangement of companies
  26   and NGOs that facilitate investment in green projects such as renewable energy
  27   and prevention of deforestation. In exchange for their investment in these
  28   projects, companies receive “carbon offsets” in the form of credits that purport to
                                            2
                                 CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 3 of 41 Page ID #:3



   1   verify the amount of carbon that was not released due to the company’s
   2   investments in the offset market. Defendant’s claim of carbon neutrality
   3   therefore hinges on an underlying set of representations—that since March 2020
   4   Defendant’s investments in the voluntary carbon offset market have entirely
   5   offset the CO2 emissions from Defendant’s global airline operations, such that
   6   Defendant has not been responsible for releasing additional carbon into the
   7   atmosphere during that time.
   8         6.      Plaintiff has since discovered that any such representations are
   9   manifestly and provably false. As explained below, foundational issues with the
  10   voluntary carbon offset market make the purchase of said offsets cannot make a
  11   company “carbon neutral.” Even the primary offset vendors offer offsets replete
  12   with the following:
  13              a. inaccurate accounting;
  14              b. non-additional effects on worldwide carbon levels due to the
  15                 vendors crediting offsets for projects that would have occurred with
  16                 or without offset market investment;
  17              c. non-immediate speculative emissions reductions that will at best
  18                 occur over decades, despite crediting purchasers with the sum of
  19                 those projected offsets; and
  20              d. impermanent projects subject to disease, natural disasters, and
  21                 human intervention
  22         7.      These issues are specific to offsets purchased by and relied upon by
  23   Defendant. both scientists and government regulators have specifically identified
  24   Defendant as one of many companies who have grossly misstated the actual
  25   carbon reduction produced by their carbon offset portfolio. At the same time,
  26   Defendant’s operation of a commercial airline causes significant carbon dioxide
  27   (“CO2”) to be released into the atmosphere.
  28         8.      Accordingly, Defendant’s claims of “carbon neutrality” are false
                                             3
                                  CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 4 of 41 Page ID #:4



   1   and misleading; the operation of Defendant’s airline is not carbon neutral, and
   2   consumers would not have purchased tickets on Defendant’s flights, or paid
   3   substantially less for them, had they known the claim of carbon neutrality was
   4   false.
   5            9.    Plaintiff and the putative class were wronged by these actions.
   6   There is a significant market premium for green services, and specifically
   7   services that do not contribute to climate change. Since March 2020, Plaintiff
   8   purchased Delta flights at a market premium due to her belief that by flying Delta
   9   she engaged in more ecologically conscious air travel and participated in a global
  10   transition away from carbon emissions. During this entire period, Defendant still
  11   produced massive amounts of CO2, and its reliance on the voluntary carbon
  12   offset market in no way prevents its “carbon-neutral” representations from being
  13   false and misleading. Plaintiff would not have purchased Defendant’s services,
  14   or at the very least would have paid substantially less for those services, if she
  15   understood at the time of purchase that Defendant’s carbon neutral
  16   representations were false.
  17            10.   Plaintiff is a purchaser of Defendant’s flights who asserts claims on
  18   behalf of herself and similarly situated purchasers of Defendant’s flights for (i)
  19   violation of California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civil
  20   Code §§ 1750, et seq., (ii) violation of California’s False Advertising, Business
  21   and Professions Code § 17500, et seq. (“FAL”), and (iii) Unlawful, unfair, and
  22   fraudulent trade practices in violation of California’s Business and Professions
  23   Code § 17200.
  24                                         PARTIES
  25            11.   Plaintiff Mayanna Berrin is, and at all times alleged in this Class
  26   Action Complaint was, an individual and a resident and therefore citizen of
  27   Glendale, California. Plaintiff Mayanna Berrin makes her permanent home in
  28   Glendale and intends to remain in Glendale.
                                              4
                                   CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 5 of 41 Page ID #:5



   1         12.    Defendant Delta Air Lines, Inc. is a corporation incorporated under
   2   the laws of the state of Delaware, with its principal place of business in Atlanta,
   3   Georgia. Defendant markets, sells, and operates flights worldwide and
   4   throughout the United States, including the state of California. Defendant
   5   operated, marketed, and sold flights during the class period.
   6         13.    Plaintiff has purchased flights on the Defendant’s airline multiple
   7   times since March 2020, flying round-trip on Delta on May 6, 2021, November
   8   19, 2021, October 10, 2022, and November 29, 2022.
   9         14.    Prior to her purchase of the flights, Plaintiff had viewed
  10   advertisements, LinkedIn posts, and business reporting in which Defendant was
  11   touted as a carbon neutral airline. Plaintiff relied on Defendant’s representations
  12   that Defendant was a carbon neutral business. Plaintiff saw these representations
  13   prior to, and at the time of purchase, and understood them as representations and
  14   warranties that the flight she had purchased was with a carbon neutral business.
  15         15.    Plaintiff understood “carbon neutral” to mean that since March 2020
  16   Defendant has removed or offset all the carbon it has emitted on a global basis.
  17   Plaintiff relied on these representations and warranties in deciding to purchase
  18   her flights with Defendant, rather than some other airline. Accordingly, those
  19   representations and warranties were part of the basis of the bargain, in that she
  20   would not have purchased said flights on the same terms had they known those
  21   representations were not true.
  22         16.    In making her purchase, Plaintiff paid a substantial price premium
  23   due to the false and misleading carbon neutral claim. Had Plaintiff known that
  24   the carbon neutral claim was false and misleading, Plaintiff would not have paid
  25   a market premium to purchase the flight with Defendant. Plaintiff did not
  26   receive the benefit of the bargain because the flight she purchased was not, in
  27   fact, the product of a carbon neutral business.
  28   ///
                                            5
                                 CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 6 of 41 Page ID #:6



   1                            JURISDICTION AND VENUE
   2         17.    This Court has subject matter jurisdiction over this action pursuant
   3   to the Class Action Fairness Act, 28 U.S.C. Section 1332(d)(2)(A) because: (i)
   4   there are 100 or more class members; (ii) there is an aggregate amount in
   5   controversy exceeding $5,000,000, exclusive of interest and costs; and (iii)
   6   Plaintiff and Defendant are citizens of different states.
   7         18.    This Court has supplemental jurisdiction over any state law claims
   8   pursuant to 28 U.S.C. Section 1367.
   9         19.    The injuries, damages and/or harm upon which this action is based
  10   occurred or arose out of activities engaged in by Defendant within, affecting, and
  11   emanating from, the State of California. Defendant regularly conducts and/or
  12   solicits business in, engages in other persistent courses of conduct in, and/or
  13   derives substantial revenue from services provided to persons in the State of
  14   California. Defendant has engaged, and continues to engage, in substantial and
  15   continuous business practices in the State of California.
  16         20.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
  17   because a substantial part of the events or omissions giving rise to the claims
  18   occurred in the State of California, including within this District.
  19         21.    In accordance with California Civil Code Section 1780(d), Plaintiff
  20   concurrently files herewith a declaration establishing that, at various times
  21   throughout the class period, she purchased one or more flights with Delta Air
  22   Lines, Inc. while located in California.
  23         22.    Plaintiff accordingly alleges that jurisdiction and venue are proper
  24   in this Court.
                              SUBSTANTIVE ALLEGATIONS
  25

  26                A.     Environmental Impact is a Compelling Consideration for
                           Consumers
  27

  28         23.    The changing climate is widely appreciated as the crisis of our
                                             6
                                  CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 7 of 41 Page ID #:7



   1   times. “Human activities, principally through emissions of greenhouse gasses
   2   (GHG), have unequivocally caused global warming, with global surface
   3   temperature reaching 1.1°C above 1850-1900 in 2011-2020.” 1 “Observed
   4   warming is human-caused, with warming from greenhouse gasses, dominated by
   5   CO2 and methane (CH4).” 2
   6          24.    Given the current omnipresence of climate change issues, interest in
   7   environmentally friendly (“green”) consumption is at an all-time high. For many
   8   consumers, the environmental impact of a company’s supply chain and
   9   operations has a significant impact on their purchasing decisions. As the
  10   Supreme Court of California has observed, “[t]o some consumers, processes and
  11   places of origin matter. Whether a particular food is kosher or halal may be of
  12   enormous consequence to an observant Jew or Muslim. Whether a wine is from
  13   a particular locale may matter to the oenophile who values subtle regional
  14   differences. Whether a diamond is conflict free may matter to the fiancée who
  15   wishes not to think of supporting bloodshed and human rights violations each
  16   time she looks at the ring on her finger. And whether food was harvested or a
  17   product manufactured by union workers may matter to still others.” Kwikset
  18   Corp. v. Superior Ct., 51 Cal. 4th 310, 328–29, 246 P.3d 877, 889–90 (2011).
  19          25.    The same is true of a company’s environmental footprint. “87% of
  20   consumers will have a more positive image of a company that supports social or
  21   environmental issues. 88% will be more loyal to a company that supports social
  22   or environmental issues. 87% would buy a product with a social and
  23   environmental benefit if given the opportunity.” 3 At the same time, “[i]n spite of
  24   consumers’ willingness to contribute to a greener and more circular economy in
  25   1
         HOESUNG LEE ET AL., SYNTHESIS REPORT OF THE IPCC SIXTH ASSESSMENT REPORT 6
  26   (STEVEN K ROSE ET AL. EDS., 2022).
       2
         Id.
  27   3
         Adam Butler, Do Customers Really Care About Your Environmental Impact?, FORBES (Nov.
       21, 2018, 8:00 AM), https://www.forbes.com/sites/forbesnycouncil/2018/11/21/do-customers-
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       really-care-about-your-environmental-impact/?
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                                    CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 8 of 41 Page ID #:8



   1   their everyday lives, their active and effective role in this green transition is
   2   hampered by” “a lack of trust in the credibility of environmental claims and the
   3   proliferation of misleading commercial practices related to the environmental
   4   sustainability of products.”4
   5          26.    In the interest of maintaining consumer loyalty and maintaining
   6   market position, companies have rolled out various environmental initiatives to
   7   encourage consumers to continue to purchase their goods and services. These
   8   initiatives have led to accusations of “greenwashing”—referring to when
   9   environmentally harmful goods and services are rebranded as more ecologically
  10   conscious than they actually are in fact. Greenwashing is difficult for consumers
  11   to identify, as by definition, the inherent information asymmetry between
  12   corporations and individual consumers means that “[c]onsumers cannot verify
  13   green attributes directly and must rely on such signals as eco-labels to
  14   authenticate claims.” 5
  15          27.    These efforts are effective at changing consumer perceptions. In
  16   one study, “[o]ver half (57%) of consumers (in the control condition) believed
  17   that greenwashed claims were a reliable source of information about a company's
  18   eco-practices. Consumers were also much more likely to agree that greenwashing
  19   energy companies had strong green credentials, compared to energy companies
  20   depicted in a non-greenwashed advertisement.” 6
  21                 B.     A Brief Primer on the Voluntary Carbon Offset Market
  22          28.    “Carbon offsets have become a popular tool in global efforts to
  23   mitigate climate change. These programs work by offering regulated polluters
  24   4
         EUROPEAN COMM’N, DIRECTIVE OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL ON
  25   SUBSTANTIATION AND COMMUNICATION OF EXPLICIT ENVIRONMENTAL CLAIMS (GREEN
       CLAIMS DIRECTIVE) 2 (2023).
       5
  26     Lucy Atkinson & Sonny Rosenthal, Signaling the Green Sell: The Influence of Eco-Label
       Source, Argument Specificity, and Product Involvement on Consumer Trust, JOURNAL OF
  27   ADVERTISING, Feb. 2014, at 33, 33-45.
       6
         Protecting consumers from Greenwashing, THE BEHAVIOURAL INSIGHTS TEAM BLOG, (Jun.
  28
       23, 2022), https://www.bi.team/blogs/there-is-a-growing-epidemic-of-climate-anxiety/
                                                    8
                                    CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 9 of 41 Page ID #:9



   1   the opportunity to increase their own emissions if they subsidize equivalent
   2   emission reductions in unregulated markets.” 7
   3          29.    “The most common offsets are based on avoiding the release of
   4   additional carbon dioxide into the atmosphere, for example by preventing
   5   deforestation or supporting renewable energy projects. The other, much more
   6   expensive, option is to fund programs that actually remove CO2 by planting
   7   forests or employing machines that capture greenhouse gas from the air and store
   8   them away.”8
   9          30.    “Offset logic goes like this: If it is cheaper for a company to buy an
  10   offset that cuts emissions somewhere else instead of in their own operations, then
  11   offsets are cost effective.” 9 “With each investment, the corporations rack up
  12   “credits” for the forests they save or restore, tokens representing a set amount of
  13   carbon dioxide ostensibly kept out of the atmosphere by storing it safely in the
  14   trees.”10
  15          31.    “On its face, the exchange seems like a win-win: Huge sums of
  16   money are funneled into environmental projects, mostly in poor countries with
  17   less ability to pursue large-scale forest protection on their own,” while companies
  18   “can say they’re zeroing out their carbon footprints by offsetting whatever
  19   emissions they can’t eliminate from their own operations with CO₂ reductions
  20

  21   7
        RAPHAEL CALEL ET AL., DO CARBON OFFSETS OFFSET CARBON? 1 (GRANTHAM RSCH. INST.
  22   ON CLIMATE CHANGE AND THE ENV’T ET AL. EDS., 2021).
       8
         Jess Shankleman & Akshat Rathi, Net Zero Is Hard Work, So Companies Are Going 'Carbon
  23   Neutral', BLOOMBERG (Jul. 19, 2021, 3:50 AM),
       https://www.bloomberg.com/news/articles/2021-07-19/offsets-can-play-a-role-to-make-
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       companies-carbon-responsible#xj4y7vzkg
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  25     Betsy Vereckey, How to Choose Carbon Offsets that Actually Cut Emissions, MIT SLOAN
       SCH. (Nov. 2, 2022), https://mitsloan.mit.edu/ideas-made-to-matter/how-to-choose-carbon-
  26   offsets-actually-cut-emissions
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          Josh Lederman, Corporations are Turning to Forest Credits in the Race to go ‘Carbon
  27   Neutral.’ Advocates Worry About ‘Greenwashing.’, NBC NEWS (Jan. 18, 2023, 12:58 PM),
       https://www.nbcnews.com/news/world/corporations-are-turning-forest-credits-race-go-carbon-
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       neutral-advocat-rcna7259
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                                     CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 10 of 41 Page ID #:10



    1   elsewhere on the planet.”11
    2          32.    “The last decade has seen billions of carbon offsets issued to project
    3   developers around the world, providing opportunities for regulatory compliance
    4   at lower cost.”12 Interest in projects that prevent deforestation has risen “[i]n
    5   recent years, [as] a long list of Fortune 500 companies has begun purchasing
    6   credits from forest projects.”13 “The market for [prevented deforestation carbon
    7   offset credits] credits is estimated in the hundreds of millions of dollars, a
    8   number growing year upon year as a cottage industry to sell, trade and
    9   authenticate forest credits has taken shape.” 14
   10          33.    Offset programs all promote themselves as nominally certified.
   11   Certification and verification is essential—"when offset programs support
   12   projects that would have been developed anyway, they not only waste the limited
   13   resources available to mitigate climate change but also contribute to climate
   14   change by increasing global emissions.”15 Unfortunately, the voluntary carbon
   15   offset market is self-regulated, leading to “multiple, competing ‘certification’
   16   standards and a dizzying array of organizations or companies that act as
   17   middlemen, authenticating supposed greenhouse gas reductions and connecting
   18   credit buyers and sellers.”16 Lack of standardization is not the only barrier to
   19   verification, as the market is also plagued by structural inabilities to track
   20
        11
   21      Id.
        12
           RAPHAEL CALEL ET AL., DO CARBON OFFSETS OFFSET CARBON? 30 (GRANTHAM RSCH.
   22   INST. ON CLIMATE CHANGE AND THE ENV’T ET AL. EDS., 2021).
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           Josh Lederman, Corporations are Turning to Forest Credits in the Race to go ‘Carbon
   23   Neutral.’ Advocates Worry About ‘Greenwashing.’, NBC NEWS (Jan. 18, 2023, 12:58 PM),
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   25      Id.
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           RAPHAEL CALEL ET AL., DO CARBON OFFSETS OFFSET CARBON? 30 (GRANTHAM RSCH.
   26   INST. ON CLIMATE CHANGE AND THE ENV’T ET AL. EDS., 2021).
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           Josh Lederman, Corporations are Turning to Forest Credits in the Race to go ‘Carbon
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                                    CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 11 of 41 Page ID #:11



    1   genuine progress and poor mathematical modeling. For instance, in the context
    2   of prevented deforestation, “[m]easuring activity on the ground in far-flung
    3   rainforests can be incredibly difficult.” 17 And in an analysis of the “world’s
    4   largest carbon offset program,” which primarily arranges for the purchase of
    5   renewable energy offsets, researchers estimated “that at least 52% of approved
    6   carbon offsets were allocated to projects that would very likely have been built
    7   anyway”—“a substantial misallocation of resources.”18
    8          34.    There are also inherent conflicts of interest in the standard offset
    9   verification process. According to ecologist Dan Nepstad, the president of the
   10   Earth Innovation Institute, “the carbon project developer” “hires the auditors. So
   11   the auditors are working for the company that would benefit, really, from a good
   12   result.”19 That means “it’s up to companies to do their own due diligence to
   13   know that the credits they’re buying are legitimate.” 20
   14                 C.     Companies Purchase Carbon Offsets to Claim Carbon
                             Neutrality, and Said Representations are Effective on
   15
                             Consumers
   16
               35.    Certain companies have also announced they are “carbon neutral” or
   17
        working towards becoming “net-zero.” Climate-related claims that goods,
   18
        services, or entities are “carbon neutral” or “100% CO2 compensated” are often
   19
        predicated on the company having “offset” its carbon emissions by purchasing
   20
        “carbon credits” “generated outside the company’s value chain, for example
   21
        from forestry or renewable energy projects.” 21 The basic premise of carbon
   22
        17
           Id.
   23   18
           RAPHAEL CALEL ET AL., DO CARBON OFFSETS OFFSET CARBON? 30 (GRANTHAM RSCH.
        INST. ON CLIMATE CHANGE AND THE ENV’T ET AL. EDS., 2021).
   24   19
           Josh Lederman, Corporations are Turning to Forest Credits in the Race to go ‘Carbon
   25   Neutral.’ Advocates Worry About ‘Greenwashing.’, NBC NEWS (Jan. 18, 2023, 12:58 PM),
        https://www.nbcnews.com/news/world/corporations-are-turning-forest-credits-race-go-carbon-
   26   neutral-advocat-rcna7259
        20
           Id.
   27   21
           EUROPEAN COMM’N, DIRECTIVE OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL ON
        SUBSTANTIATION AND COMMUNICATION OF EXPLICIT ENVIRONMENTAL CLAIMS (GREEN
   28
        CLAIMS DIRECTIVE) 31 (2023).
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                                    CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 12 of 41 Page ID #:12



    1   offsets is that a company will invest money into a project with ostensibly positive
    2   environmental impact and in return they will receive “carbon offset credits” that
    3   estimate the project’s carbon-reducing impact. Though the “methodologies
    4   underpinning offsets vary widely and are not always transparent, accurate, or
    5   consistent,”22 in theory, a company will only claim to be carbon neutral when
    6   they have accrued enough carbon credits in a year to fully “offset” the carbon
    7   emissions produced by their annual business operations. In the words of Delta’s
    8   Managing Director of Sustainability, Amelia DeLuca, being carbon neutral
    9   means that “for everything we emit, we take an action, though in our space
   10   mostly avoiding deforestation, to neutralize those emissions.”23
   11          36.    Carbon neutral representations are similarly effective on consumers,
   12   especially for goods and services that consumers identify as otherwise
   13   environmentally harmful. A 2015 study found that “the presence of a carbon-
   14   neutral label in an advertisement, regardless of the type of product, leads to more
   15   favorable perceptions of company environmental concern” while the presence of
   16   the carbon neutral label leads to “more pronounced increase[s]’ in consumer
   17   perceptions of company environmental concern” when the product in question is
   18   “environmentally harmful” than when it is “environmentally neutral.” 24
   19          37.    This is further corroborated by a March 2022 report documenting “a
   20   simulated market study” which “revealed that 87% of Americans value carbon-
   21   neutral labeled products over similar ‘unlabeled’ products” and “that this value is
   22   driven by better brand perceptions and feeling better when buying the product.”
   23   This value was not merely reputational; “[p]eople placed a considerable
   24
        22
   25      Id.
        23
           Brands Unbridled, Delta Air Lines: Taking Climate Commitments to New Heights,
   26   STORYHORSE, (Nov. 1, 2021), https://storyhorsebranding.com/perspective/delta-airlines-
        taking-climate-commitments-to-new-heights/
   27   24
           Amy Stokes & Anna M. Turri, Consumer Perceptions of Carbon Labeling in Print
        Advertising: Hype or Effective Communication Strategy?, JOURNAL OF MARKETING
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        COMMUNICATIONS, 2015, at 300, 300-315.
                                                    12
                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 13 of 41 Page ID #:13



    1   monetary value on carbon-neutral products.” In particular, an experiment found
    2   “that consumers consistently reported they were willing to pay more for [carbon-
    3   neutral] labeled products compared to equivalent products in a shopping
    4   scenario. The [carbon-neutral] label held substantial appeal across
    5   demographics, skewing slightly towards women. Carbon neutral products were
    6   similarly appealing across income, post-high school education levels, race, and
    7   age.”25
    8          38.    At the same time, consumers have reason to be concerned about
    9   aviation emissions. “Over the past two decades, CO2 emissions from aviation
   10   have increased rapidly.” “Although the energy intensity of commercial
   11   passenger aviation has declined, due to improvements in the operational and
   12   technical efficiency measures adopted by airlines, this has been more than offset
   13   by the CO2 emissions resulting from the rapid growth in passenger numbers.” 26
   14                 D.     Delta Claims Carbon Neutrality, Predicated on Carbon
                             Offsets, in Order to Encourage Consumers to Fly Delta
   15
               39.    In February 2020, Delta CEO Ed Bastian announced that Delta was
   16
        going “fully carbon neutral” as of March 1, 2020.27 In order to achieve this goal,
   17
        Bastian stated Delta was committing to using carbon removal and transitioning to
   18
        sustainable fuels, committing “a billion dollars over this decade, or close to $100
   19
        million dollars a year.” 28 On the question of carbon offsets, Bastian said “carbon
   20
        offsets are “not the solution, there are not enough to go around…carbon offsets
   21
        have a lot of efficacy issues, and quite honestly in some places they do more
   22

   23   25
           Graham Gephart, Understanding How Consumers Value Climate Neutral Certification,
        CLIMATE NEUTRAL (Mar. 30, 2022), https://www.climateneutral.org/blog/understanding-how-
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        consumers-value-climate-neutral-certification
        26
   25      SEAN HEALY, SCOPING VOLUNTARY CORPORATE CLIMATE ACTION IN THE EUROPEAN
        AVIATION SECTOR 8 (ÖKO-INSTITUT ET AL. EDS., 2022).
        27
   26      Jessica Bursztynsky, Delta Airlines CEO Announces the Carrier will go ‘Fully Carbon
        Neutral’ Next Month, CNBC (Feb. 14, 2020, 7:27 AM),
   27   https://www.cnbc.com/2020/02/14/delta-air-lines-ceo-carrier-will-go-fully-carbon-neutral-
        next-month.html
   28   28
           Id.
                                                    13
                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 14 of 41 Page ID #:14



    1   harm than they do good, or pay people to not do harm, that is not really helping
    2   our planet.”29
    3         40.    Since March 2020, Defendant has marketed itself across various
    4   platforms as “the world’s first carbon neutral airline.”
    5         41.    A September 2021 video advertisement states that Delta is
    6   “committed to becoming the world’s first carbon neutral airline on a global
    7   basis.” 30 As reported by Adweek, Delta’s Managing Director of Sustainability,
    8   Amelia DeLuca, stated that Delta’s intention for the advertisement was to
    9   communicate that “[w]hen you book with Delta, you can feel confident that we
   10   will offset the carbon emitted from your flight with us.”31 The airline broadcast
   11   the campaign widely, “with placements airing on NBCUniversal properties and
   12   digitally in The New York Times, Lonely Planet and HuffPost Black Voices”
   13   along with audio and video content “appearing on Pandora, Spotify, Stitcher and
   14   YouTube,” complemented with “targeted digital ads” “on social platforms
   15   including Facebook, Instagram, Reddit and Twitter.”32 Molly Battin, Delta’s
   16   Senior Vice President of Marketing, herself acknowledged that the purpose of the
   17   campaign was to raise awareness of Delta’s carbon neutral status after
   18   “‘proprietary research show[ed] that [Delta] customers [weren’t] aware’ of
   19   Delta’s carbon neutral status,” and that the media plan aimed to establish Delta
   20   “as an industry leader for sustainable change.” 33
   21         42.    A September 28, 2021 LinkedIn Post by DeLuca (simultaneously
   22   posted to Delta’s corporate website, and remaining there as of the date of filing)
   23   went on to state that Defendant “became the first carbon neutral airline on a
   24
        29
   25      Id.
        30
           Kathryn Lundstrom, Delta’s New Ad Campaign Takes Aim at Travel-Related Climate Guilt,
   26   ADWEEK (Sep. 13, 2021), https://www.adweek.com/brand-marketing/delta-travel-related-
        climate-guilt-carbon-neutral/
   27   31
           Id.
        32
           Id.
   28   33
           Id.
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                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 15 of 41 Page ID #:15



    1   global basis” in 2020, a commitment “from March 2020 onward, balancing our
    2   emissions with investments to remove carbon across our global operations.”34
    3   DeLuca repeated these representations in a November 1, 2021 episode of the
    4   podcast Brands Unbridled, again advertising Delta as “the first carbon neutral
    5   airline in the world” such that “since March 1st, 2020 onward, until today and
    6   going forward, we are a carbon neutral airline.” 35 DeLuca went on, stating that
    7   “for everything we emit, we take an action, though in our space mostly avoiding
    8   deforestation, to neutralize those emissions.” And a November 4, 2021 LinkedIn
    9   post stated that “[i]n March 2020, Delta became the first carbon neutral airline
   10   globally.” 36
   11          43.      During this time, Delta also printed and put into circulation an in-
   12   flight napkin, a photo of which is below, representing that Delta was “Carbon
   13   Neutral Since March 2020.”
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           Amelia DeLuca, An Update on Our Path to Net Zero, DELTA NEWS HUB (Sep. 28, 2021,
   25   12:00 PM), https://news.delta.com/update-our-path-net-zero
        35
           Brands Unbridaled, Delta Air Lines: Taking Climate Commitments to New Heights,
   26   STORYHORSE, (Nov. 1, 2021), https://storyhorsebranding.com/perspective/delta-airlines-
        taking-climate-commitments-to-new-heights/
   27   36
           Delta Air Lines Inc., An Update on Our Path to Net Zero, DELTA NEWS HUB (Nov. 4, 2021,
        12:45 PM), https://news.delta.com/delta-joins-first-movers-coalition-drive-breakthrough-
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        technologies-and-sustainable-fuels
                                                    15
                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 16 of 41 Page ID #:16



    1          44.    Defendant also made specific representations as to the nature,
    2   impact, and structure of its carbon offset portfolio. An April 22, 2021 “Earth
    3   Day” post on Delta’s website claimed that as part of Delta’s “commitment to
    4   carbon neutrality,” Delta was intending to purchase “more than $30 million for
    5   portfolio [sic] of verified offsets to mitigate 13 million metric tons of Delta’s
    6   2020 emissions.”37 Those investments ended up including “protecting half a
    7   million acres in an Indonesian peat swamp forest and a Cambodian wildlife
    8   sanctuary.”38
    9          45.    These representations were clearly made with the intent to
   10   encourage air travel on Delta. Delta’s September 2021 video advertisement that
   11   mentions its carbon neutrality is premised around encouraging consumers to see
   12   the world and save the world, and in September 2022, Delta’s newly appointed
   13   Sustainability Officer reiterated that the purpose of Delta’s carbon neutral
   14   representations was to convince consumers that they do not “have to choose
   15   between seeing the world and saving the world.”39
   16   ///
   17   ///
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   19   37
           Delta Air Lines Inc., Delta Spotlights Ambitious Carbon Neutrality Plan on Path to Zero-
        impact Aviation this Earth Month, DELTA NEWS HUB (Apr. 22, 2021, 11:30 AM),
   20
        https://news.delta.com/delta-spotlights-ambitious-carbon-neutrality-plan-path-zero-impact-
   21   aviation-earth-month
        38
           Josh Lederman, Corporations are Turning to Forest Credits in the Race to go ‘Carbon
   22   Neutral.’ Advocates Worry About ‘Greenwashing.’, NBC NEWS (Jan. 18, 2023, 12:58 PM),
        https://www.nbcnews.com/news/world/corporations-are-turning-forest-credits-race-go-carbon-
   23   neutral-advocat-rcna7259
        39
           Philba Wahba, Delta’s Sustainability Chief Says People Don’t Have to Choose Between
   24
        Flying and Protecting the Environment, FORTUNE (Sep. 23, 2022, 5:47 AM),
   25   https://fortune.com/2022/09/23/delta-sustainability-chief-climate-change-esg-dont-choose-
        between-flying-protecting-
   26   environment/?_ptid=%7Bkpdx%7DAAAAvBfj3ejzgQoKY2ZRajJmTTN6ahIQbGhneDlqanZ
        pbzR5cmh1ZxoMRVg1M0lEU01IUVNQIiUxODA4N2RnMGMwLTAwMDAzMjAydDhlY
   27   TJpNWZwcWMyNGNqaDBvKhhzaG93T2ZmZXJUSVdTTlZWNk9RUEIxNDIwAToMT1R
        YVjlWNkRMVVI5Qg1PVFYySzVEMEpGTTRRUhJ2LYIA8BZ6M2U3bDRpcXNaCzQ3Lj
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        E1NS42My40YgNkd2NordrwogZwBHgM
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                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 17 of 41 Page ID #:17



    1                 E.     Defendant’s Claims of Carbon Neutrality are False and
    2                        Misleading
    3          46.    Delta’s representations of carbon neutrality are provably false and
    4   misleading. Rather than achieving carbon neutrality through sustainable fuels
    5   and carbon removals, as initially promised, Delta has instead premised their
    6   carbon neutrality on the purchase of carbon offsets from the voluntary carbon
    7   market. Nearly all offsets issued by the voluntary carbon offset market
    8   overpromise and underdeliver on their total carbon impact due to endemic
    9   methodological errors and fraudulent accounting on behalf of offset vendors,
   10   resulting “in offset credits of low environmental integrity and credibility that
   11   mislead consumers when they are relied upon in explicit environmental
   12   claims.”40 “The methodologies underpinning offsets vary widely and are not
   13   always transparent, accurate, or consistent” leading to “significant risks of
   14   overestimations and double counting of avoided or reduced emissions.” 41 The
   15   primary issues with the carbon offset market are the offsets’ lack of verifiability,
   16   additionality, immediacy, and durability.42
   17          47.    Any one of these issues can mean that “a proposed offset won’t
   18   actually reduce emissions much, if at all.” And it is only “when companies have
   19   achieved all the reductions they possibly can, and balanced the rest with carbon
   20   removals, would they achieve ‘carbon-neutrality.’”43 This is because “if it would
   21   be preferable to simply avoid (not offset) the emissions in a scenario where the
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        40
           EUROPEAN COMM’N, DIRECTIVE OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL ON
   23   SUBSTANTIATION AND COMMUNICATION OF EXPLICIT ENVIRONMENTAL CLAIMS (GREEN
        CLAIMS DIRECTIVE) 31 (2023).
   24   41
           Id.
        42
   25      Betsy Vereckey, How to Choose Carbon Offsets that Actually Cut Emissions, MIT SLOAN
        SCH. (Nov. 2, 2022), https://mitsloan.mit.edu/ideas-made-to-matter/how-to-choose-carbon-
   26   offsets-actually-cut-emissions
        43
           Jess Shankleman & Akshat Rathi, Net Zero Is Hard Work, So Companies Are Going
   27   'Carbon Neutral', BLOOMBERG (Jul. 19, 2021, 3:50 AM),
        https://www.bloomberg.com/news/articles/2021-07-19/offsets-can-play-a-role-to-make-
   28
        companies-carbon-responsible#xj4y7vzkg
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                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 18 of 41 Page ID #:18



    1   world followed an efficient and equitable approach to eliminating emissions, the
    2   act of offsetting cannot make up for this forgone opportunity. Instead, the act of
    3   offsetting merely sets the world on a slightly less worse path, but one that still
    4   deviates from what is optimal.”44 This is particularly true when “carbon credits
    5   are sold by companies to ‘compensate’ for an activity where optimal mitigation
    6   pathways require consumer behavioral change,” such as “aviation, where
    7   identified pathways refer to the need for demand management, or limits on
    8   flying.”45 And the risks of miscalculation are greater in the aviation sector, as
    9   “[a]viation emissions are especially impactful, since their total net effect is
   10   enhanced through a variety of non-CO2 radiative forcing processes that occur at
   11   high altitudes.”46
   12          48.    The offset industry is replete with well-documented problems,
   13   explained further below. Regardless of those granular details, it is simply
   14   indisputable that issues with the offset market have been well-documented and
   15   publicized. “In the EU, a 2021 study revealed that 85 percent of offsets failed to
   16   reduce emissions. In response, EU member states decided offsets would not
   17   count toward European climate goals after 2021.” 47 “In 2019, a study similarly
   18   found that 82 per cent of California’s offset credits do not provide climate
   19   benefits.” 48 Yet despite all of these concerns, Delta has been specifically
   20   identified as a company that relies on dubious offsets that fall victim to all of
   21   these issues, rendering its claims of carbon neutrality false and misleading and
   22   particularly injurious in light of Delta’s massive CO2 footprint as a major
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        44
   25      DERIK BROEKHOFF, EXPERT REPORT 5 (STOCKHOLM ENV’T INST. ET AL. EDS., 2022).
        45
           Id. at 6.
        46
   26      Id.
        47
           Lois Parshley, California’s Carbon Offsetting May Actually be Increasing Emissions, NEW
   27   SCIENTIST (Dec. 22, 2022), https://www.newscientist.com/article/2352926-californias-carbon-
        offsetting-may-actually-be-increasing-emissions/
   28   48
           Id.
                                                     18
                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 19 of 41 Page ID #:19



    1   worldwide airline. 49
    2                   i.   Delta’s Purportedly “Verified” Offsets Are Predicated on
    3                        Misleading and Unverifiable Accounting of Carbon Impact

    4          49.    The first reason it is false and misleading for Delta to represent it is
    5   carbon neutral on the basis of its offsets portfolio is that Delta’s offsets are
    6   predicated on misleading and unverifiable accounting of the offset’s carbon
    7   impact, due to the voluntary carbon market’s “tendency to inflate” carbon
    8   impacts, resulting “in phantom carbon credits.”50 Accurate accounting is
    9   essential for carbon neutrality claims to be true, as “[if a company’s] calculations
   10   are not perfect, you’re doing harm,” due to the fact that the offsets need to
   11   meaningfully cancel out “[t]he consequences of adding carbon dioxide to the
   12   atmosphere,” which “extend centuries, if not millennia, into the future.”51
   13          50.    Verification is important for all kinds of offsets. Whether they are
   14   in the form of avoided deforestation, avoided emissions, or green technology
   15   investments, a company “must be able to verify that emissions actually fall. If
   16   you’re going to plant trees, you have to verify that they were actually planted and
   17   that they will survive for decades to come. If you fund efficient, low-emission
   18   cook stoves for the rural poor in the developing world, you have to verify that
   19   they are actually delivered, kept in working condition, and used.” 52
   20          51.    Yet the voluntary carbon market is replete with dubious projections
   21   49
           Akshat Rathi et al., Junk Carbon Offsets Are What Make These Big Companies ‘Carbon
   22   Neutral’, BLOOMBERG (Nov. 21, 2022), https://www.bloomberg.com/graphics/2022-carbon-
        offsets-renewable-energy/#xj4y7vzkg
   23   50
           Patrick Greenfield, Carbon Offsets Used by Major Airlines Based on Flawed System, Warn
        Experts, THE GUARDIAN (May 4, 2021),
   24
        https://www.theguardian.com/environment/2021/may/04/carbon-offsets-used-by-major-
   25   airlines-based-on-flawed-system-warn-experts
        51
           Lois Parshley, California’s Carbon Offsetting May Actually be Increasing Emissions, NEW
   26   SCIENTIST (Dec. 22, 2022), https://www.newscientist.com/article/2352926-californias-carbon-
        offsetting-may-actually-be-increasing-emissions/
   27   52
           Betsy Vereckey, How to Choose Carbon Offsets that Actually Cut Emissions, MIT SLOAN
        SCH. (Nov. 2, 2022), https://mitsloan.mit.edu/ideas-made-to-matter/how-to-choose-carbon-
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        offsets-actually-cut-emissions
                                                      19
                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 20 of 41 Page ID #:20



    1   misleadingly packaged as guarantees. “Research into Verra, the world’s leading
    2   carbon standard for the rapidly growing $2bn (£1.6bn) voluntary offsets market,
    3   has found that, based on analysis of a significant percentage of the projects, more
    4   than 90% of their rainforest offset credits – among the most commonly used by
    5   companies – are likely to be ‘phantom credits’ and do not represent genuine
    6   carbon reductions.”53
    7         52.    “Phantom credits” result from inaccurate projections. The three
    8   major voluntary carbon credit vendors from whom Defendant purchases offsets
    9   have repeatedly engaged in fraudulent projections that grossly overstate their
   10   guarantee of carbon reduction. One major problem is severe errors in how
   11   vendors project future offsetting. Researchers have found that in the context of
   12   avoided deforestation offsets, “in all projects that established crediting baselines
   13   using historical trends,” “the crediting baselines significantly overstate
   14   deforestation in comparison to the counterfactual estimates based on synthetic
   15   controls.”54 In other words, offset vendors’ routine erroneous reliance on
   16   historical data leads to the consistent overestimation of the total risks to existing
   17   forests, leading to significant overinflation of the estimated carbon reduction
   18   from the corresponding offsets. Investigations have further revealed that all three
   19   major voluntary carbon markets have engaged in fraudulently double and triple
   20   counting of projects, crediting several companies with the entire carbon offset
   21   from the same plot of land.5556
   22
        53
           Patrick Greenfield, Revealed: More Than 90% of Rainforest Carbon Offsets by Biggest
   23   Provider are Worthless, Analysis Shows, THE GUARDIAN (Jan. 18, 2023),
        https://www.theguardian.com/environment/2023/jan/18/revealed-forest-carbon-offsets-
   24
        biggest-provider-worthless-verra-aoe
        54
   25      THALES A. P. WEST ET AL., OVERSTATED CARBON EMISSION REDUCTIONS FROM VOLUNTARY
        REDD+ PROJECTS IN THE BRAZILIAN AMAZON 3 (ERIC F. LAMBIN ED., NAT’L ACAD. OF SCI.,
   26   2020).
        55
           EUROPEAN COMM’N, DIRECTIVE OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL ON
   27   SUBSTANTIATION AND COMMUNICATION OF EXPLICIT ENVIRONMENTAL CLAIMS (GREEN
        CLAIMS DIRECTIVE) (2023).
   28   56
           DERIK BROEKHOFF, EXPERT REPORT (STOCKHOLM ENV’T INST. ET AL. EDS., 2022).
                                                    20
                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 21 of 41 Page ID #:21



    1          53.    These issues are specific to Delta’s offset portfolio. Delta’s offset
    2   portfolio is primarily composed of green technology investment offsets,57 with an
    3   additional substantial investment in prevented deforestation.58 For instance, in
    4   2021, Delta’s offsets portfolio was 50% renewable energy offsets, 44%
    5   agricultural forestry and other land use offsets, and 6% renewable offsets.59 Yet
    6   these are precisely the kinds of offsets that are most likely to be the product of
    7   inaccurate baselining and double counting.
    8          54.    As noted above, a review of the world’s largest carbon offset
    9   project, the green technology offsets project CDM, (whose green technology
   10   investment offsets are present in Delta’s offset portfolio) revealed that there were
   11   serious issues with the project’s baseline assumptions, undermining the likely
   12   value of more than half of the offsets sold by the project. 60 The issue with CDM
   13   projects is that the offsets were routinely “ awarded to projects that would have
   14   been developed without the subsidy” generated by the sales of the offsets, such
   15   that the offsets “did not represent emissions savings.”61 In fact, CDM’s offset
   16   allocation “compare[d] unfavorably with a lottery, indicating that there is
   17   substantial room for improvement in the design and implementation of the
   18   project selection mechanism.”62 This is no mere inefficiency; “having a process
   19   that accurately screens out projects that do not require subsidies is essential to
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        57
   21      Akshat Rathi et al., Junk Carbon Offsets Are What Make These Big Companies ‘Carbon
        Neutral’, BLOOMBERG (Nov. 21, 2022), https://www.bloomberg.com/graphics/2022-carbon-
   22   offsets-renewable-energy/#xj4y7vzkg
        58
           Josh Lederman, Corporations are Turning to Forest Credits in the Race to go ‘Carbon
   23   Neutral.’ Advocates Worry About ‘Greenwashing.’, NBC NEWS (Jan. 18, 2023, 12:58 PM),
        https://www.nbcnews.com/news/world/corporations-are-turning-forest-credits-race-go-carbon-
   24
        neutral-advocat-rcna7259
        59
   25      US Airline Buys 12 Million mt of Carbon Offsets for $137 Million, QUANTUM COMMODITY
        INTEL. (May 9, 2022), https://www.qcintel.com/carbon/article/us-airline-buys-12-million-mt-
   26   of-carbon-offsets-for-137-million-5848.html
        60
           RAPHAEL CALEL ET AL., DO CARBON OFFSETS OFFSET CARBON? 21 (GRANTHAM RSCH.
   27   INST. ON CLIMATE CHANGE AND THE ENV’T ET AL. EDS., 2021).
        61
           Id.
   28   62
           Id.
                                                     21
                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 22 of 41 Page ID #:22



    1   safeguarding the integrity of offset programs.” 63 Inaccurate projections lead to
    2   the misallocation of scarce climate change mitigation resources and the rubber
    3   stamping of net increase in global emissions. Researchers found that rather than
    4   mitigate climate change, CDM’s misallocation of carbon offset funds “may have
    5   increased global carbon dioxide emissions by 6.1 billion tonnes, equivalent to
    6   running 20 one-gigawatt coal power plants for their entire 50-year lifespan.”64
    7          55.    The same is true for deforestation projects. Delta’s 2021
    8   agricultural, forestry and other land use offsets were all verified by the carbon
    9   offset vendor Verra. Yet as noted above, recent reporting revealed that 90% of
   10   rainforest offsets provided by Verra during this period were predicated on poor
   11   baseline assumptions, and in fact had zero climate impact.65
   12                  ii.    Delta’s Offsets are Non-Additional and Therefore Have Little
   13                         to no Climate Impact

   14          56.    The second reason it is false and misleading for Delta to represent
   15   itself as carbon neutral on the basis of its offset portfolio is that Defendant has
   16   almost exclusively relied on carbon offsets that are “non-additional.” A project
   17   is “non-additional” when it credits carbon offsets for reductions that would have
   18   occurred regardless of the involvement of the voluntary carbon market. Carbon
   19   reductions “are additional if they would not have occurred in the absence of a
   20   market for offset credits. If the reductions would have happened anyway – i.e.,
   21   without any prospect for project owners to sell carbon offset credits – then they
   22   are not additional.
   23          57.    Additionality is essential for the quality of carbon offset credits – if
   24   their associated GHG reductions are not additional, then purchasing offset credits
   25   63
           Id.
        64
   26      Id.
        65
           Patrick Greenfield, Revealed: More Than 90% of Rainforest Carbon Offsets by Biggest
   27   Provider are Worthless, Analysis Shows, THE GUARDIAN (Jan. 18, 2023),
        https://www.theguardian.com/environment/2023/jan/18/revealed-forest-carbon-offsets-
   28
        biggest-provider-worthless-verra-aoe
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                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 23 of 41 Page ID #:23



    1   in lieu of reducing your own emissions will make climate change worse.” 66
    2   Accordingly, any project that is non-additional is a carbon offset in name only,
    3   such that any claim of carbon neutrality that is even fractionally predicated on
    4   non-additional carbon projects is definitively false. Yet according to one study,
    5   “at least 52% of approved carbon offsets were allocated to projects that would
    6   very likely have been built anyway.” “In addition to wasting scarce resources,”
    7   the sale of non-additional offsets “to regulated polluters” has likely “substantially
    8   increased global carbon dioxide emissions.” 67
    9          58.     In practice, only “4% of offsets actually remove CO2 from the
   10   atmosphere.”68 This is particularly concerning in light of the fact that even
   11   though carbon offsetting is not inherently mutually exclusive to initiatives that
   12   aim to directly reduce a company’s emissions, e.g. reducing energy consumption
   13   or transitioning to low-or-no-carbon fuel sources, carbon offsetting often replaces
   14   direct emissions reductions because it is typically more cost effective for
   15   companies to engage in carbon offsetting than it would be for them to
   16   meaningfully decrease the carbon footprint and overall environmental impact of
   17   their products/services. In practice, the low price of carbon offsets often deters
   18   companies from pursuing “emissions reductions in their own operations and
   19   value chains,” despite adequate contributions to global climate change mitigation
   20   targets necessarily requiring the “effective reductions of emissions across”
   21   “operations and value chains” instead of reliance on offsets. 69 This makes non-
   22
        66
           What Makes a High-Quality Carbon Offset?: Additionality, CARBON OFFSET GUIDE,
   23   https://www.offsetguide.org/high-quality-offsets/additionality/ (May 19, 2023, 2:17 PM).
        67
           RAPHAEL CALEL ET AL., DO CARBON OFFSETS OFFSET CARBON? 1 (GRANTHAM RSCH. INST.
   24
        ON CLIMATE CHANGE AND THE ENV’T ET AL. EDS., 2021).
        68
   25      Akshat Rathi & Ben Elgin, What Are Carbon Offsets and How Many Really Work?,
        BLOOMBERG (Jun. 14, 2022),
   26   https://www.bloomberg.com/news/articles/2022-06-14/what-are-carbon-offsets-and-how-
        many-really-work-quicktake
   27   69
           EUROPEAN COMM’N, DIRECTIVE OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL ON
        SUBSTANTIATION AND COMMUNICATION OF EXPLICIT ENVIRONMENTAL CLAIMS (GREEN
   28
        CLAIMS DIRECTIVE) 31 (2023).
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                                     CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 24 of 41 Page ID #:24



    1   additional offsets particularly pernicious for global climate goals; not only do
    2   they profoundly underperform other green efforts, but they provide companies a
    3   discounted means of claiming they are making a difference when they are in fact
    4   doing very little.
    5         59.    Yet Delta has been identified as having almost exclusively relied on
    6   non-additional offsets, with an offset portfolio consisting of “half renewables,
    7   mostly wind and solar projects in India.”70 “Selling offsets for small sums as a
    8   way to support the economics of renewables doesn’t provide any real benefit if
    9   it’s already cheaper than building new coal or gas power plants.” “The issue is
   10   timing: many renewable offsets came into being just as solar and wind power
   11   established herself as the cheapest source of energy in most countries.”71 “An
   12   expert review of Delta’s largest single source of renewable offsets, the Los
   13   Cocos II wind farm in the Dominican Republic, determined that it almost
   14   certainly didn’t need additional support.”72 And as revealed by an analysis of the
   15   very wind projects in India from which Delta has heavily purchased offsets, “at
   16   least 52% of approved carbon offsets were allocated to projects that would very
   17   likely have been built anyway.”73
   18         60.    Similar additionality concerns are present with avoided
   19   deforestation projects. A 2021 study “found that California’s offsets programs
   20   systematically over-credits the carbon-absorbing potential of its offset properties
   21   by nearly a third.” Further satellite analysis confirmed that “no additional carbon
   22   is actually being sequestered in these forests than would have been without the
   23

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        70
   25      Akshat Rathi et al., Junk Carbon Offsets Are What Make These Big Companies ‘Carbon
        Neutral’, BLOOMBERG (Nov. 21, 2022), https://www.bloomberg.com/graphics/2022-carbon-
   26   offsets-renewable-energy/#xj4y7vzkg
        71
           Id.
   27   72
           Id.
        73
           RAPHAEL CALEL ET AL., DO CARBON OFFSETS OFFSET CARBON? 30 (GRANTHAM RSCH. INST.
   28
        ON CLIMATE CHANGE AND THE ENV’T ET AL. EDS., 2021).
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                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 25 of 41 Page ID #:25



    1   program.”74
    2                  iii.   Delta’s Offsets do not Provide Immediate Offsetting,
                              Misleadingly Claiming Carbon Offsets From Future Decades
    3                         of Projected Offsets Against Current Emissions
    4          61.    Carbon offsets also need to be immediate. In the same way there’s a
    5   time value to money, there is a time value to carbon: “Your flight today dumps
    6   carbon dioxide into the atmosphere right now, worsening climate change from
    7   this day forth. Saplings planted today won’t grow large enough to offset today’s
    8   emissions for decades, nor will investments in speculative technologies like
    9   nuclear fusion or direct air capture, even if they eventually become viable.”75
   10   The same is true for green technology investments; projections of decades of
   11   fossil fuel replacement from a wind farm are a woefully imprecise means of
   12   calculating the actual impact of technologies that may well become obsolete in
   13   the intervening years. Consumers also expect that carbon neutral claims are
   14   based on immediate carbon reductions. The very premise of claiming carbon
   15   neutrality in a calendar year is that the year’s omissions were offset that year.
   16          62.    Nevertheless, Defendant’s offsets are by definition not-immediate,
   17   despite Delta having repeatedly represented that the company is already “carbon
   18   neutral.”
   19          63.     Defendant claims its purchase of offsets meant that its corporate
   20   operations were “carbon-neutral” over a calendar year when the offsets in
   21   question in fact project future carbon reduction. In reality, the company invested
   22   in various green projects, calculated future years of future carbon reductions or
   23   non-release from those projects, and then credited all of the years of future
   24   reductions from the single year’s offset investments against a single
   25   74
           Lois Parshley, California’s Carbon Offsetting May Actually be Increasing Emissions, NEW
   26   SCIENTIST (Dec. 22, 2022), https://www.newscientist.com/article/2352926-californias-carbon-
        offsetting-may-actually-be-increasing-emissions/
   27   75
           Betsy Vereckey, How to Choose Carbon Offsets that Actually Cut Emissions, MIT SLOAN
        SCH. (Nov. 2, 2022), https://mitsloan.mit.edu/ideas-made-to-matter/how-to-choose-carbon-
   28
        offsets-actually-cut-emissions
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                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 26 of 41 Page ID #:26



    1   contemporary year of emissions. Therefore, Defendant’s representations that
    2   they were “carbon-neutral” in a calendar year due to their purchase of offsets
    3   from the voluntary carbon market are in fact false—Defendant had simply
    4   invested in projects that, assuming nothing goes wrong, will altogether take all of
    5   those future years to offset Defendant’s most recent year of carbon emissions.
    6   “Regardless of quality, all [carbon offset] projects have long timelines and may
    7   take years to scale, which make determining their future effects (and dollar
    8   value) an act of educated guesswork.”76 That means that “[n]o matter how
    9   rigorously vetted a program might be,” offsets programs are “never literally
   10   negating the emissions,” “even when companies that support [carbon offsetting]
   11   projects claim to make your purchase carbon neutral today.”77
   12                  iv.   Delta’s Offsets are Impermanent and Therefore Offer no
                             Guarantee of Future Performance, Despite Delta’s Carbon
   13
                             Neutral Claims Relying on Said Future Performance
   14
               64.    Offsets also need to permanently sequester carbon in order to
   15
        meaningfully combat climate change. “Carbon dioxide emissions stay in the
   16
        atmosphere for a century or more, so you must offset an equivalent amount of
   17
        emissions for at least that long. Trees planted today are more likely to succumb
   18
        to wildfire, disease, pests, or extreme weather as the world warms, and do not
   19
        provide durable carbon storage.”78 “To counterbalance fossil fuel emissions,
   20
        therefore, carbon credits must be associated with mitigation that is similarly
   21
        permanent. If mitigation is ‘reversed’ (i.e., carbon stored as a result of a
   22
        mitigation activity is subsequently emitted, so that no net reduction or removal
   23
        occurs), then it no longer contributes to staying within a global carbon budget,
   24

   25   76
           Katie Okamoto, Don’t Be Fooled by ‘Carbon Neutral’ Shipping, WIRECUTTER (Nov. 21,
   26   2022), https://www.nytimes.com/wirecutter/blog/what-is-carbon-neutral-shipping/
        77
           Id.
   27   78
           Betsy Vereckey, How to Choose Carbon Offsets that Actually Cut Emissions, MIT SLOAN
        SCH. (Nov. 2, 2022), https://mitsloan.mit.edu/ideas-made-to-matter/how-to-choose-carbon-
   28
        offsets-actually-cut-emissions
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                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 27 of 41 Page ID #:27



    1   and no longer serves a counterbalancing function. This is primarily a concern
    2   with mitigation activities that result in enhanced carbon storage in biospheric
    3   reservoirs (including trees, shrubs, soils, and other biological stores of
    4   carbon).” 79
    5          65.     This comes from the inherent problem with crediting companies
    6   with the environmental impacts of decades-long projections—“[i]t’s impossible
    7   to prove a counterfactual.” 80 For instance, in the context of prevented
    8   deforestation, “[r]ather than just valuing what forests are actually there, which
    9   are actively providing a carbon sink or store right now, [carbon offset vendors]
   10   have to surmise which forests would still be here versus which ones are the
   11   bonus forests that were spared from the theoretical ax.”81
   12          66.     “Already, there are examples of forests associated with carbon
   13   crediting projects being destroyed by catastrophic fires, including projects funded
   14   by BP and Microsoft affected by the increasingly prevalent wildfires in the
   15   American West (Hodgson 2021). Such impacts are leading credit buyers to re-
   16   evaluate the risks of such projects. While some carbon offset programs, such as
   17   the Gold Standard, maintain insurance mechanisms to address carbon losses
   18   (essentially, ‘buffer reserves’ of credits that are issued but not circulated), there
   19   are questions about whether they are sufficiently robust and it is doubtful that
   20   such mechanisms can be effective over indefinite time periods.” For Gold
   21   Standard offsets, “the obligation to compensate for ‘reversals’ (i.e., carbon
   22   losses) may extend for as little as 20 years – far short of what is needed to fully
   23   counterbalance carbon emissions.” 82 Ultimately, “[t]he fragility of biospheric
   24
        79
   25      DERIK BROEKHOFF, EXPERT REPORT 7-8 (STOCKHOLM ENV’T INST. ET AL. EDS., 2022).
        80
           Patrick Greenfield, Carbon Offsets Used by Major Airlines Based on Flawed System, Warn
   26   Experts, THE GUARDIAN (May 4, 2021),
        https://www.theguardian.com/environment/2021/may/04/carbon-offsets-used-by-major-
   27   airlines-based-on-flawed-system-warn-experts
        81
           Id.2
   28   82
           DERIK BROEKHOFF, EXPERT REPORT 9 (STOCKHOLM ENV’T INST. ET AL. EDS., 2022).
                                                    27
                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 28 of 41 Page ID #:28



    1   carbon reservoirs has led some scientists to object to any use of NCS to offset
    2   fossil carbon emissions.”
    3          67.    According to a report by the European Union, carbon offsets sold by
    4   the three major carbon offset vendors have in fact routinely credited companies
    5   with decades of projected increase in carbon offsetting from projects that
    6   subsequently severely underperformed or in some cases were destroyed
    7   altogether. Offset vendors claim they insure against catastrophic future events by
    8   siloing offsets as insurance, but one study found that “one single disease, on a
    9   single tree species called tanoak, would be enough to completely wipe out the
   10   credits set aside for all disease-and insect-related mortality.” 83
   11          F.     Delta Knew or Should Have Known These Statements Were
   12                 False

   13          68.    Accordingly, any claim that Defendant is a carbon neutral company
   14   is false and misleading, and Defendant either knew or should have known as
   15   such--Defendant’s operations produce significant amounts of carbon into the
   16   atmosphere, and its purchase of fraudulently accounted and dubiously designed
   17   carbon offsets in no way make their operation produce no additional carbon year
   18   over year. Despite the carbon offset market’s claims of verification, its ultimate
   19   reliance on “ambitious and dynamic crediting baselines that depart from business
   20   as usual” has produced inaccurate and misleading accounting. At the same time,
   21   the offsets herself “lack additionality”, are non-immediate, and fundamentally
   22   fail to guarantee a permanent impact, all of which render the claim that those
   23   offsets make Delta “carbon neutral” provably false and misleading.84
   24          69.    It is simply inaccurate to say that offset purchasers are unaware of
   25   83
           Lois Parshley, California’s Carbon Offsetting May Actually be Increasing Emissions, NEW
   26   SCIENTIST (Dec. 22, 2022), https://www.newscientist.com/article/2352926-californias-carbon-
        offsetting-may-actually-be-increasing-emissions/
   27   84
           EUROPEAN COMM’N, DIRECTIVE OF THE EUROPEAN PARLIAMENT AND OF THE COUNCIL ON
        SUBSTANTIATION AND COMMUNICATION OF EXPLICIT ENVIRONMENTAL CLAIMS (GREEN
   28
        CLAIMS DIRECTIVE) 31 (2023).
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                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 29 of 41 Page ID #:29



    1   problems with the voluntary carbon offset market. Much the opposite is true—
    2   there are voluminous pages of industry-wide writing acknowledging the legal
    3   risks of continuing to engage in these misrepresentations. “41% of corporate
    4   sustainability officers don’t use carbon offsets because they don’t trust them,”
    5   and another “43% are seeking to have them rated or validated” to prevent
    6   misleading the public. 85 At the same time, market leaders in transportation
    7   including Lyft and JetBlue have halted their offset programs and retracted carbon
    8   neutral claims out of concerns that the offset market is faulty and therefore
    9   carbon neutral claims are actionably false. 86 And Credit Suisse, “an early
   10   purchaser of renewable offsets, now says it’s among the companies shifting
   11   towards buying more rigorous removals.”87 Even Walmart, the world’s largest
   12   company by revenue, has made “a zero emissions commitment that does not rely
   13   on carbon offsets.” 88
   14          70.    Delta’s own current CEO Ed Bastian himself acknowledged the
   15   severe problems with offsets when Delta first announced its intention to go “fully
   16   carbon neutral” as of March 1, 2020.89 On the question of carbon offsets,
   17   Bastian said “carbon offsets are “not the solution, there are not enough to go
   18   around…carbon offsets have a lot of efficacy issues, and quite honestly in some
   19   places they do more harm than they do good, or pay people to not do harm, that
   20   85
           AIDASH INC., CARBON OFFSETTING IN 2023: A CHIEF SUSTAINABILITY OFFICER’S GUIDE TO
   21   THE MARKET 4 (2023).
        86
           Justine Calma, JetBlue No Longer Plans to Offset Emissions from Domestic Flights, THE
   22   VERGE (Dec. 9, 2022), https://www.theverge.com/2022/12/9/23501665/jetblue-carbon-offsets-
        sustainable-aviation-fuel
   23   87
           Akshat Rathi et al., Junk Carbon Offsets Are What Make These Big Companies ‘Carbon
        Neutral’, BLOOMBERG (Nov. 21, 2022), https://www.bloomberg.com/graphics/2022-carbon-
   24
        offsets-renewable-energy/#xj4y7vzkg
        88
   25      Betsy Vereckey, How to Choose Carbon Offsets that Actually Cut Emissions, MIT SLOAN
        SCH. (Nov. 2, 2022), https://mitsloan.mit.edu/ideas-made-to-matter/how-to-choose-carbon-
   26   offsets-actually-cut-emissions
        89
           Jessica Bursztynsky, Delta Airlines CEO Announces the Carrier will go ‘Fully Carbon
   27   Neutral’ Next Month, CNBC (Feb. 14, 2020, 7:27 AM),
        https://www.cnbc.com/2020/02/14/delta-air-lines-ceo-carrier-will-go-fully-carbon-neutral-
   28
        next-month.html
                                                      29
                                       CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 30 of 41 Page ID #:30



    1   is not really helping our planet.” 90
    2                                   CLASS ALLEGATIONS
    3              71.   In addition to their individual claims, Plaintiff bring this action
    4   pursuant to Rule 23 of the Federal Rules of Civil Procedure.
    5              72.   Plaintiff bring this class action lawsuit on behalf of a proposed class
    6   of similarly situated persons, pursuant to Rule 23(b)(2) and (b)(3) of the Federal
    7   Rules of Civil Procedure, defined as follows:
    8              73.   “The Class”: All natural persons who, between March 6, 2020 and
    9   the present, purchased a Delta Airlines flight while located in California.
   10              74.   This action has been brought and may properly be maintained as a
   11   class
   12   action against Defendant because there is a well-defined community of interest in
   13   the litigation and the proposed class is easily ascertainable.
   14              75.   Numerosity: Plaintiff does not know the exact size of the Class, but
   15   estimates that the Class is composed of more than 5,000 persons. The persons in
   16   the Class are so numerous that the joinder of all such persons is impracticable
   17   and the disposition of their claims in a class action rather than in individual
   18   actions will benefit the parties and the courts.
   19              76.   Common Questions Predominate: This action involves common
   20   questions of law and fact to the Class because each class member’s claim derives
   21   from the deceptive, unlawful and/or unfair statements and omissions that led
   22   consumers to believe that Delta Airlines was a carbon neutral airline.
   23              77.   The common questions of law and fact predominate over individual
   24   questions, as proof of a common or single set of facts will establish the right of
   25   each member of the Class to recover. The questions of law and fact common to
   26   the Class are:
   27              • whether Defendant operated a carbon neutral airline;
   28   90
             Id.
                                                 30
                                      CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 31 of 41 Page ID #:31



    1         • whether Defendant purchased carbon offsets that fully offset its annual
    2         year of emissions;
    3         • whether Defendant unfairly, unlawfully and/or deceptively
    4         misrepresented that it is a carbon neutral airline; that is has fully offset its
    5         emissions on an annual basis since March 2020;
    6         • whether the use of the term “carbon neutral” in Defendant’s marketing
    7         violated Federal and/or California state law;
    8         • whether the advertising of Delta Airlines flights as being carbon neutral
    9         caused them to command a premium in the market as compared with
   10         similar services that do not make such a claim;
   11         • whether Defendant’s advertising and marketing regarding carbon
   12         neutrality was likely to deceive the class members and/or was unfair;
   13         • whether a carbon neutrality claim on flight advertising is material to a
   14         reasonable consumer;
   15         • whether Defendant engaged in the alleged conduct knowingly,
   16         recklessly, or negligently;
   17         78.    Typicality: Plaintiff’ claims are typical of the claims of other
   18   members of the Class because, among other things, all such claims arise out of
   19   the same unlawful course of conduct in which Defendant engaged. Plaintiff and
   20   those similarly situated purchased Defendant’s flights based on Defendant’s
   21   misrepresentations and omissions that they are a carbon neutral airline that has
   22   fully offset all of its emissions since March 2020. Thus, they and the class
   23   members sustained the same injuries and damages arising out of Defendant’s
   24   conduct in violation of the law. The injuries and damages of each class member
   25   were caused directly by Defendant’s wrongful conduct in violation of law as
   26   alleged.
   27         79.    Adequacy of Representation: Plaintiff will fairly and adequately
   28   protect the interests of all class members because it is in their best interests to
                                              31
                                   CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 32 of 41 Page ID #:32



    1   prosecute the claims alleged herein to obtain full compensation due to them for
    2   the unfair and illegal conduct of which they complain. Plaintiff also has no
    3   interests that are in conflict with, or antagonistic to, the interests of class
    4   members. Plaintiff has retained highly competent and experienced class action
    5   attorneys to represent their interests and those of the classes. By prevailing on
    6   her own claims, Plaintiff will establish Defendant’s liability to all class members.
    7   Plaintiff and her counsel have the necessary financial resources to adequately and
    8   vigorously litigate this class action, and Plaintiff and counsel are aware of their
    9   fiduciary responsibilities to the class members and are determined to diligently
   10   discharge those duties by vigorously seeking the maximum possible recovery for
   11   class members.
   12          80.    Superiority: There is no plain, speedy, or adequate remedy other
   13   than by maintenance of this class action. The prosecution of individual remedies
   14   by members of the classes will tend to establish inconsistent standards of conduct
   15   for Defendant and result in the impairment of class members’ rights and the
   16   disposition of their interests through actions to which they were not parties. Class
   17   action treatment will permit a large number of similarly situated persons to
   18   prosecute their common claims in a single forum simultaneously, efficiently, and
   19   without the unnecessary duplication of effort and expense that numerous
   20   individual actions would engender. Furthermore, as the damages suffered by
   21   each individual member of the classes may be relatively small, the expenses and
   22   burden of individual litigation would make it difficult or impossible for
   23   individual members of the class to redress the wrongs done to them, while an
   24   important public interest will be served by addressing the matter as a class
   25   action.
   26          81.    Plaintiff is unaware of any difficulties that are likely to be
   27   encountered in the management of this action that would preclude its
   28   maintenance as a class action.
                                               32
                                    CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 33 of 41 Page ID #:33



    1                                CAUSES OF ACTION
    2                    FIRST CAUSE OF ACTION
    3    (VIOLATION OF THE CONSUMERS LEGAL REMEDIES ACT (THE
                           “CLRA”), CALIFORNIA
    4                    CIVIL CODE § 1750, et seq.)
    5                 (On Behalf of Plaintiff and the Class)

    6         82.    Plaintiff realleges and incorporate by reference all paragraphs
    7   alleged herein.
    8         83.    Defendant’s actions, representations and conduct have violated, and
    9   continue to violate the CLRA, because they extend to transactions that are
   10   intended to result, or which have resulted, in the sale or lease of goods or
   11   services to consumers.
   12         84.    Plaintiff and other class members are “consumers” as that term is
   13   defined by the CLRA in California Civil Code § 1761(d).
   14         85.    The flights that Plaintiff (and other similarly situated class
   15   members) purchased from Defendant constitute “services” within the meaning of
   16   California Civil Code § 1761(b).
   17         86.    Defendant’s acts and practices, set forth in this Class Action
   18   Complaint, led customers to falsely believe that Defendant operated a carbon
   19   neutral airline since March 2020; and that Defendant purchased carbon offsets
   20   that meant it did not release any net additional carbon into the atmosphere on an
   21   annualized basis since March 2020. By engaging in the actions, representations
   22   and conduct set forth in this Class Action Complaint, Defendant has violated,
   23   and continue to violate, § 1770(a)(2), § 1770(a)(3), § 1770(a)(4), § 1770(a)(5)§,
   24   1770(a)(7), and §1770(a)(9) of the CLRA. In violation of California Civil Code §
   25   1770(a)(2), Defendant’s acts and practices constitute improper representations
   26   regarding the source, sponsorship, approval, or certification of the services they
   27   sold. In violation of California Civil Code § 1770(a)(3), Defendant’s acts and
   28   practices constitute improper representations regarding the affiliation,
                                             33
                                  CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 34 of 41 Page ID #:34



    1   connection, or association with, or certification by, another. In violation of
    2   California Civil Code § 1770(a)(4), Defendant’s acts and practices constitute
    3   deceptive representations or designations of geographic origin in connection with
    4   goods or services. In violation of California Civil Code § 1770(a)(5),
    5   Defendant’s acts and practices constitute improper representations that the
    6   services they sell have sponsorship, approval, characteristics, ingredients, uses,
    7   benefits, or quantities, which they do not have. In violation of California Civil
    8   Code § 1770(a)(7), Defendant’s acts and practices constitute improper
    9   representations that the goods they sell are of a particular standard, quality, or
   10   grade, when they are of another. In violation of California Civil Code §
   11   1770(a)(9), Defendant has advertised goods or services with intent not to sell
   12   them as advertised.
   13         87.    Plaintiff requests that this Court enjoin Defendant from continuing
   14   to employ the unlawful methods, acts and practices alleged herein pursuant to
   15   California Civil Code § 1780(a)(2). If Defendant is not restrained from engaging
   16   in these types of practices in the future, Plaintiff and the other members of the
   17   Class will continue to suffer harm.
   18         88.    CIVIL CODE § 1782 NOTICE. Plaintiff notices and demand that
   19   within thirty (30) days from that date of the filing of this Complaint, Defendant
   20   correct, repair, replace or otherwise rectify the unlawful, unfair, false and or
   21   deceptive practices complained of herein.
   22         89.    Should the violations herein alleged not be corrected or rectified as
   23   required by Civil Code § 1782 within 30 days with respect to all Class Members,
   24   Plaintiff will seek to amend this Class Action Complaint to seek, on behalf of
   25   each Class Member, actual damages of at least $1,000, punitive damages, an
   26   award of $5,000 for each Class Member who is a disabled person or senior
   27   citizen, and restitution of any ill-gotten gains due to Defendant’s acts and
   28   practices.
                                              34
                                   CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 35 of 41 Page ID #:35



    1         90.    Plaintiff also requests that this Court award them costs and
    2   reasonable attorneys’ fees pursuant to California Civil Code § 1780(d).
    3
                       SECOND CAUSE OF ACTION
    4   FALSE ADVERTISING, BUSINESS AND PROFESSIONS CODE § 17500,
    5
                               et seq. (“FAL”)
                     (On Behalf of Plaintiff and the Class)
    6

    7   Plaintiff realleges and incorporates by reference all paragraphs alleged herein.
    8         91.    Beginning on March 6, 2020, and repeatedly again within three (3)
    9   years preceding the filing of the Class Action Complaint, Defendant made
   10   untrue, false, deceptive and/or misleading statements in connection with the
   11   advertising and marketing of Delta flights.
   12         92.    Defendant made representations and statements (by omission and
   13   commission) that led reasonable customers to believe (i) Delta Airlines operated
   14   a carbon neutral airline since March 2020; and (ii) that Defendant purchased
   15   carbon offsets such that it did not release any net additional carbon into the
   16   atmosphere on an annualized basis since March 2020.
   17         93.    Plaintiff and those similarly situated relied to their detriment on
   18   Defendant’s false, misleading and deceptive advertising and marketing practices,
   19   including each of the misrepresentations and omissions set forth in paragraphs
   20   39-45 above. Had Plaintiff and those similarly situated been adequately
   21   informed and not intentionally deceived by Defendant, they would have acted
   22   differently by, without limitation, refraining from purchasing Delta flights, or
   23   paying less for them.
   24         94.    Defendant’s acts and omissions are likely to deceive the general
   25   public. Defendant engaged in these false, misleading and deceptive advertising
   26   and marketing practices to increase its profits. Accordingly, Defendant engaged
   27   in false advertising, as defined and prohibited by section 17500, et seq. of the
   28   California Business and Professions Code. These practices, which Defendant
                                             35
                                  CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 36 of 41 Page ID #:36



    1   used, and continues to use, to their significant financial gain, also constitute
    2   unlawful competition and provides an unlawful advantage over Defendant’s
    3   competitors as well as injury to the general public.
    4         95.    As a direct and proximate result of such actions, Plaintiff and the
    5   other class members have suffered, and continue to suffer, injury in fact and have
    6   lost money and/or property as a result of such false, deceptive and misleading
    7   advertising in an amount which will be proven at trial, but which is in excess of
    8   the jurisdictional minimum of this Court.
    9         96.    Plaintiff seeks on behalf of herself and those similarly situated, a
   10   declaration that the above-described practices constitute false, misleading and
   11   deceptive advertising.
   12         97.    Plaintiff seeks on behalf of herself and those similarly situated, full
   13   restitution of monies, as necessary and according to proof, to restore any and all
   14   monies acquired by Defendant from Plaintiff, the general public, or those
   15   similarly situated by means of the false, misleading and deceptive advertising
   16   and marketing practices complained of herein, plus interest thereon. Pursuant to
   17   Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following allegations
   18   in this paragraph only hypothetically and as an alternative to any contrary
   19   allegations in their other causes of action, in the event that such causes of action
   20   do not succeed. Plaintiff and the Class may be unable to obtain monetary,
   21   declaratory and/or injunctive relief directly under other causes of action and will
   22   lack an adequate remedy at law, if the Court requires them to show classwide
   23   reliance and materiality beyond the objective reasonable consumer standard
   24   applied under the FAL, because Plaintiff may not be able to establish each Class
   25   member’s individualized understanding of Defendant’s misleading
   26   representations as described in this Complaint, but the FAL does not require
   27   individualize proof of deception or injury by absent Class members. See, e.g.,
   28   Ries v. Ariz. Bevs. USA LLC, 287 F.R.D. 523, 537 (N.D. Cal. 2012)
                                              36
                                   CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 37 of 41 Page ID #:37



    1   (“restitutionary relief under the UCL and FAL ‘is available without
    2   individualized proof of deception, reliance, and injury.’”). In addition, Plaintiff
    3   and the Class may be unable to obtain such relief under other causes of action
    4   and will lack an adequate remedy at law, if Plaintiff are unable to demonstrate
    5   the requisite mens rea (intent, reckless, and/or negligence), because the FAL
    6   imposes no such mens rea requirement and liability exists even if Defendant
    7   acted in good faith.
    8         98.    Plaintiff seeks on behalf of herself and those similarly situated, an
    9   injunction to prohibit Defendant from continuing to engage in the false,
   10   misleading and deceptive advertising and marketing practices complained of
   11   herein. Such misconduct by Defendant, unless and until enjoined and restrained
   12   by order of this Court, will continue to cause injury in fact to the general public
   13   and the loss of money and property in that Defendant will continue to violate the
   14   laws of California, unless specifically ordered to comply with the same. This
   15   expectation of future violations will require current and future consumers to
   16   repeatedly and continuously seek legal redress in order to recover monies paid to
   17   Defendant to which it is not entitled. Plaintiff, those similarly situated, and/or
   18   other consumers nationwide have no other adequate remedy at law to ensure
   19   future compliance with the California Business and Professions Code alleged to
   20   have been violated herein.
   21
                         THIRD CAUSE OF ACTION
   22
         UNLAWFUL, UNFAIR, AND FRAUDULENT TRADE PRACTICES IN
   23    VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17200, et seq.
   24
                      (On Behalf of Plaintiff and the Class)

   25         99.    Plaintiff realleges and incorporates by reference all paragraphs
   26   alleged herein.
   27         100. Since March 2020, and at all times mentioned herein, Defendant
   28   engaged, and continues to engage, in unlawful, unfair, and fraudulent trade
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                                  CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 38 of 41 Page ID #:38



    1   practices in California by engaging in the unlawful, unfair, and fraudulent
    2   business practices outlined in this complaint.
    3         101. In particular, Defendant has engaged, and continues to engage, in
    4   unlawful practices by, without limitation, violating the following state and
    5   federal laws: (i) the CLRA as described herein; and (ii) the FAL as described
    6   herein.
    7         102. In particular, Defendant has engaged, and continues to engage, in
    8   unfair and fraudulent practices by, without limitation, the following: (i)
    9   misrepresenting that Delta Airlines operated a carbon neutral airline since March
   10   2020; and (ii) misrepresenting that Defendant purchased carbon offsets such that
   11   it did not release any net additional carbon into the atmosphere on an annualized
   12   basis since March 2020, and (iii) failing to inform Plaintiff, and those similarly
   13   situated, that the representations stated in (i) and (ii) above are false.
   14         103. Plaintiff and those similarly situated relied to their detriment on
   15   Defendant’s unlawful, unfair, and fraudulent business practices. Had Plaintiff
   16   and those similarly situated been adequately informed and not deceived by
   17   Defendant, they would have acted differently by, without limitation: (i) declining
   18   to purchase Delta flights, or (ii) paying less for Delta flights.
   19         104. Defendant’s acts and omissions are likely to deceive the general
   20   public.
   21         105. Defendant engaged in these deceptive and unlawful practices to
   22   increase its profits. Accordingly, Defendant has engaged in unlawful trade
   23   practices, as defined and prohibited by section 17200, et seq. of the California
   24   Business and Professions Code.
   25         106. These practices, which Defendant used for its significant financial
   26   gain, also constitute unlawful competition and provide an unlawful advantage
   27   over Defendant’s competitors as well as injury to the general public.
   28         107. As a direct and proximate result of such actions, Plaintiff and the
                                              38
                                   CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 39 of 41 Page ID #:39



    1   other class members have suffered and continue to suffer injury in fact and have
    2   lost money and/or property in an amount which will be proven at trial, but which
    3   is in excess of the jurisdictional minimum of this Court. Among other things,
    4   Plaintiff and the class members lost the price premium they paid for the Delta
    5   flights based on Defendant’s false “carbon neutral” representations.
    6            108. As a direct and proximate result of such actions, Defendant enjoyed,
    7   and continues to enjoy, significant financial gain in an amount which will be
    8   proven at trial, but which is in excess of the jurisdictional minimum of this
    9   Court.
   10            109. Plaintiff seeks, on behalf of herself and those similarly situated,
   11   equitable relief, including the restitution for the premium and/or full price that
   12   they or others paid to Defendant as a result of Defendant’s conduct. Pursuant to
   13   Federal Rule of Civil Procedure 8(e)(2), Plaintiff makes the following allegations
   14   in this paragraph only hypothetically and as an alternative to any contrary
   15   allegations in their other causes of action, in the event that such causes of action
   16   do not succeed.
   17            110. Plaintiff and the Class may be unable to obtain monetary,
   18   declaratory and/or injunctive relief directly under other causes of action and will
   19   lack an adequate remedy of law, if the Court requires them to show classwide
   20   reliance and materiality beyond the objective reasonable consumer standard
   21   applied under the UCL, because Plaintiff may not be able to establish each Class
   22   member’s individualized understanding of Defendant’s misleading
   23   representations as described in this Complaint, but the UCL does not require
   24   individualized proof of deception or injury by absent class members. See, e.g.,
   25   Stearns v Ticketmaster, 655 F.3d 1013, 1020, 1023-25 (distinguishing, for
   26   purposes of CLRA claim, among class members for whom website
   27   representations may have been materially deficient but requiring certification of
   28   UCL claim for entire class). In addition, Plaintiff and the Class may be unable to
                                               39
                                    CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 40 of 41 Page ID #:40



    1   obtain such relief under other causes of action and will lack an adequate remedy
    2   at law, if Plaintiff are unable to demonstrate the requisite mens rea (intent,
    3   reckless, and/or negligence), because the UCL imposes no such mens rea
    4   requirement and liability exists even if Defendant acted in good faith.
    5         111. Plaintiff seeks on behalf of herself and those similarly situated, a
    6   declaration that the above-described trade practices are fraudulent, unfair, and/or
    7   unlawful.
    8         112. Plaintiff seek on behalf of herself and those similarly situated, an
    9   injunction to prohibit Defendant from continuing to engage in the deceptive
   10   and/or unlawful trade practices complained of herein. Such misconduct by
   11   Defendant, unless and until enjoined and restrained by order of this Court, will
   12   continue to cause injury in fact to the general public and the loss of money and
   13   property in that Defendant will continue to violate the laws of California, unless
   14   specifically ordered to comply with the same. This expectation of future
   15   violations will require current and future consumers to repeatedly and
   16   continuously seek legal redress in order to recover monies paid to Defendant to
   17   which they were not entitled. Plaintiff and those similarly situated have no other
   18   adequate remedy at law to ensure future compliance with the California Business
   19   and Professions Code alleged to have been violated herein.
   20                                   PRAYER FOR RELIEF
   21         WHEREFORE, Plaintiff, on behalf of herself and those similarly situated,
   22   respectfully request that the Court enter judgment against Defendant as follows:
   23         A. Certification of the proposed Class, including appointment of
   24         Plaintiff’s counsel as class counsel;
   25         B. An award of compensatory damages, including statutory damage
   26         where available, to Plaintiff and the Class Members against Defendant for
   27         all damages sustained as a result of Defendant’s wrongdoing, in an amount
   28
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                                  CLASS ACTION COMPLAINT
Case 2:23-cv-04150-MEMF-MRW Document 1 Filed 05/30/23 Page 41 of 41 Page ID #:41



    1        to be proven at trial, including both pre-and post-judgment interest
    2        thereon;
    3        C. An order for full restitution;
    4        D. An order requiring Defendant to disgorge revenues and profits
    5        wrongfully obtained;
    6        E. An order temporarily and permanently enjoining Defendant from
    7        continuing the unlawful, deceptive, fraudulent, and unfair business
    8        practices alleged in this Complaint;
    9        F. For reasonable attorneys’ fees and the costs of suit incurred; and
   10        G. For such further relief as this Court may deem just and proper.
   11                           JURY TRIAL DEMANDED
   12        Plaintiff hereby demands a trial by jury.
   13

   14   Dated: May 30, 2023            Respectfully submitted,
   15

   16
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                                 CLASS ACTION COMPLAINT
